        Case 1:18-cv-02637-LGS-SDA Document 233 Filed 03/28/21 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                               3/28/2021
    SM Kids, LLC, as successor-in-interest to
    Stelor Productions, LLC,
                                                              1:18-cv-02637 (LGS) (SDA)
                                     Plaintiff,
                                                              ORDER
                         -against-

    Google LLC et al.,

                                     Defendants.


STEWART D. AARON, United States Magistrate Judge:

          WHEREAS, pursuant to the Court’s Order, dated March 12, 2021 (ECF No. 220), Plaintiff’s

counsel emailed to the Court on March 26, 2021, for its in camera review, the exemplar

documents identified in paragraph 2 of the Order that remain at issue; 1 and

          WHEREAS, the Court has conducted a preliminary review of the exemplar documents; and

          WHEREAS, certain redacted Mazer-related documents (i.e., “SteveGarchik!.doc” and

“Galloway email googles.doc”) were forwarded to Phillip Peckman (“Peckman”) (see

20201106_817-000022060 and SMKIDS018508_SMKIDS007); and

          WHEREAS, the Court is unclear as to the roles played by certain individuals and/or firms

who are copied on some of the exemplar emails; and




1
  The Court was advised in the email that no exemplar documents were provided regarding Messrs.
Auerbach, Dennis, Levine and Shane, since the parties had resolved their disputes about communications
involving them. The Court also was advised in the email that, in some instances, fewer exemplar
documents were provided because the Court identified more exemplar documents than exist for the
challenged name(s) or because the parties selected the same exemplar documents for the Court’s review.
      Case 1:18-cv-02637-LGS-SDA Document 233 Filed 03/28/21 Page 2 of 5




       WHEREAS, certain of the exemplar documents (and/or certain redactions from the

exemplar documents) on their face do not appear to be protected by the attorney-client privilege

and/or work product doctrine; and

       WHEREAS, the Court requires clarification regarding certain points.

       NOW, THEREFORE, it is hereby ORDERED that, in its submission to be filed on April 22,

2021, Plaintiff shall address the following:

       1. In view of Plaintiff’s agreement to produce communications with Peckman that are

            not protected by the work product doctrine (see 3/9/2021 Joint Letter, ECF No. 211,

            at 8), 2 shouldn’t the redacted documents “SteveGarchik!.doc” and “Galloway email

            googles.doc” be produced in full, since these documents were forwarded to Peckman

            (see SMKIDS018508) and the redactions to them do not appear to be protected under

            the work product doctrine (see SMKIDS018509, 18-19)?

       2. As of July 2010, who did the law firms Hughes & Bentzen, Smith Katzenstein, Ashby &

            Geddes and Gordon & Simmons represent (see 20201106_817-000034746,

            20201106_817-000030195, ID000871, SMKIDS018742-43)?

       3. Is Mark Silverman or Shilpa Rao an attorney (see ID001307, 20201106_817-

            000053050 and SMKIDS019530-31)?

       4. As of December 2008, who did the law firm Coffey Burlington represent (see

            ID001307)?




2
 See also Ansari 3/8/21 Email, ECF No. 210-9, at 2 (“SM Kids will produce documents on its log exchanged
with Mr. Peckman to the extent those documents are not protected work product.”).


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     Case 1:18-cv-02637-LGS-SDA Document 233 Filed 03/28/21 Page 3 of 5




      5. Since all that is redacted from SMKIDS022347-50 are portions of an ABA number and

          account number, shouldn’t this document be removed from the privilege log?

      6. Since the information that is redacted from SMKIDS025229-30 is disclosed in the

          document produced at SMKIDS022347-50, shouldn’t SMKIDS025229-30 be produced

          in full?

      7. What is the basis for withholding from production ID004400, since it does not appear

          to reflect communications with counsel or legal advice? 3

      8. Who is Edward Ettin and what role did he play in March 2008 (see 20201106_817-

          000028178)?

      9. Who is “Henry Epstien [ideonics@comcast.net]” and what role did he play in March

          2008 (see 20201106_817-000028178)?

      10. Who is Igor Gruendl and what role did he play in March 2008 (see 20201106_817-

          000028178)?

      11. What is the basis for the redactions to SMKIDS019221-22, since the redactions do not

          appear to reflect legal advice?

      12. Who is Mike Mann and what role did he play in September 2009 (see SMKIDS019469)?

      13. Who is Elan Blutinger and what role did he play in December 2008 (see

          SMKIDS019542-43, 19546)?




3
  The Court notes that any even arguably privileged portions of ID004400 were produced at
SMKIDS022347-50.


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    Case 1:18-cv-02637-LGS-SDA Document 233 Filed 03/28/21 Page 4 of 5




     14. Was the draft of settlement agreement (at 20201106_817-000027555) that was

        forwarded by email by Steve Garchik to Scot Thomas (see 20201106_817-000027554)

        also provided to Google in or about December 2008, or was it an internal draft?

     15. Who is Erik Odmark and what role did he play in December 2010 (see ID001728)?

     16. In the March 9, 2021 Joint Letter, Defendant stated that Plaintiff “agreed that it would

        produce all communications including [Andrew] Smith,” but Plaintiff stated that it

        would “produce the two emails on its privilege log exchanged with Andrew Smith.”

        (3/9/21 Joint Letter at 8.) ID005545 contains an October 21, 2010 email from

        Theodore Koenig to asmith@mcclean.com, among others. Does Plaintiff agree to

        produce this email? If not, who is Andrew Smith and what role did he play in October

        2010?

     17. As of March 2016, who did the law firm Snider Weinstein represent (see

        20201106_817-000021609)?

     18. As of July 2015, who did Marc S. Bekerman, Esq. represent (see 20201106_817-

        000032147, SMKIDS019099-101)?

     19. In SMKIDS025891, what was Sandy Garchik Katzman being asked to confirm and why?

     20. Was the law firm Ober Kaler ever retained by Plaintiff or any of its predecessor entities

        (see PLS000128-31)?

     21. What is the basis for the redactions to TARAL001009, since the redactions do not

        appear to reflect legal advice?

SO ORDERED.




                                              4
     Case 1:18-cv-02637-LGS-SDA Document 233 Filed 03/28/21 Page 5 of 5




Dated:     New York, New York
           March 28, 2021

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                                     STEWART D. AARON
                                     United States Magistrate Judge




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